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 5                                  UNITED STATES DISTRICT COURT

 6                                EASTERN DISTRICT OF CALIFORNIA

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 8    ASHLEIGH ANGELO, et al.,                         Case No. 1:21-cv-01609-JLT-CDB

 9                        Plaintiffs,                  ORDER DISCHARGING ORDER TO
                                                       SHOW CAUSE
10            v.
                                                       (Docs. 81, 83)
11    THOMSON INTERNATIONAL, INC.,
12                        Defendant.
13

14          On November 13, 2023, counsel for Defendant Thomson International, Inc., on behalf of

15   all parties requested that the Court convene a conference to resolve a discovery dispute relating to

16   the continued deposition of Plaintiff Howard Jackson. (Doc. 81). In lieu of a conference, the

17   Court ordered counsel for Plaintiff Jackson to file a report addressing why Plaintiff has been

18   unavailable to continue his deposition that began in July 2023. The Court further required

19   counsel for Plaintiff to identify dates of availability to continue Plaintiff’s deposition for the next

20   30 days. Id.

21          On November 14, 2023, counsel for Plaintiff Jackson timely filed a response to the

22   Court’s Order to Show Cause, accompanied by a declaration from attorney William D. Marler.

23   (Doc. 83). In his declaration, Mr. Marler represents that during the July 11, 2023, deposition at

24   issue, Plaintiff Jackson became emotionally distraught and fell to the floor. The parties called for

25   emergency services and Plaintiff Jackson was taken to a hospital for treatment. (Doc. 83-1 ⁋8).

26          In his declaration, counsel further represents that Plaintiff Jackson is a homeless man and

27   has been difficult to locate. Following his hospitalization, Plaintiff Jackson’s counsel has spent

28   considerable time trying to locate him, including hiring a private investigator, who determined
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 1   that Plaintiff Jackson is currently incarcerated. Id. ⁋9.

 2             Plaintiff Jackson’s counsel avers that he has informed Defendant of Plaintiff Jackson’s

 3   issues related to his location and health and has pledged to make him available for deposition as

 4   soon as possible. Id. Plaintiff Jackson’s counsel further represents that he will not object, based

 5   on timeliness, to the continued deposition once he gains Plaintiff’s availability. (Doc. 83 p. 2).

 6             Based on counsel for Plaintiff Jackson’s declaration, the Court finds good cause to

 7   discharge its Order to Show Cause.

 8             The Court notes that nonexpert discovery has long since expired. Whereas the parties

 9   stipulated to and requested a Court order extending the time to conduct the deposition of a
10   different plaintiff in these consolidated actions (Plaintiff Thompson, see Docs. 52, 55), no such

11   stipulated order was timely sought in the case of Plaintiff Jackson. While the Court

12   acknowledges the challenges confronted by counsel for Plaintiff Jackson in obtaining his

13   availability for continued deposition, it is not willing to delay the case indefinitely to

14   accommodate a party’s unavailability. With the dispositive motion deadline looming,

15   Defendant’s only recourse may be an application for relief pursuant to Fed. R. Civ. P. 37(a)(1) &

16   (3).

17             Accordingly, for the forgoing reasons, it is HEREBY ORDERED the Court’s Order to

18   Show Cause (Doc. 81) is DISCHARGED.

19   IT IS SO ORDERED.
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            Dated:   November 17, 2023                           ___________________                 _
21                                                       UNITED STATES MAGISTRATE JUDGE

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